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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

JOSE ORTIZ VARGAS                                    Civil No. 22-cv-01196

Plaintiff

                        v.                              Re: Violations of the Fair Debt Collection
                                                        Practices Act.
CRESCA CORPORATION

Defendant

                                   CLASS ACTION COMPLAINT

       COMES NOW, Plaintiff, José Ortiz Vargas, on behalf of himself and, pursuant to Rule

23 of the Federal Rules of Civil Procedure, all others similarly situated, through the undersigned

counsel, and before this Honorable Court respectfully STATES, ALLEGES and PRAYS as

follows:

                                         I. INTRODUCTION

       1.       This action seeks redress for the unlawful and deceptive collection practices

engaged by the Defendant in connection with their efforts to collect on a consumer debt against

Plaintiff and others similarly situated (coupled, “Plaintiffs”). Plaintiffs allege that Defendant

violated the Fair Debt Collection Practice Act (“FDCPA”) by engaging in unlawful and deceptive

collection practices. Plaintiffs request declaratory and injunctive relief, as well as monetary, and

punitive and actual damages based on violations of 15 U.S.C. §1692.

                             II.     JURISDICTION AND VENUE

       2.       Jurisdiction is invoked under the provision 28 U.S.C. §1331 and 15 U.S.C.

§1692(k)(d).




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        3.      Venue is proper in this District because all the events and omissions giving rise to

the claims asserted in the Complaint occurred within this judicial district. In addition, Defendant

is domiciled in this District and does business in this District.

                                       III.    THE PARTIES

       4.       Plaintiff, José Ortiz Vargas, is a natural person and a citizen of the Commonwealth

of Puerto Rico. At all relevant times Plaintiff has resided in the municipality of Toa Alta, Puerto

Rico. Plaintiff is a “consumer” as such term is defined by the FDCPA.

         5.     Defendant,    Cresca    Corporation      (hereinafter referred   as   “Cresca” or

“Defendant”) is a Professional Corporation registered to do business in the Commonwealth of

Puerto Rico. Cresca is also domiciled in San Juan, Puerto Rico with a designated office address

of: Reparto Metropolitano, 1012 Calle 9 SE, Rio Piedras, PR 00921. Cresca is also collection

agency that utilizes the instrumentalities of interstate commerce (i.e., telephone, e-mail, texts, US

Mail, etc.) to conduct the business of collecting debts. On behalf of clients, Cresca regularly

collects or attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or

due another. Cresca is a debt collector as such term is defined in 15 U.S.C. §1692a(6).

         6.     Within the past year Cresca attempted to collect a consumer debt from Plaintiff.

         7.     Defendants, INSURANCE COMPANIES ABC (hereinafter, "INSURANCE

COMPANIES ABC"), are the insurance companies of the Cresca in this Complaint who are liable

for the acts against the Plaintiff and are therefore responsible for the damages and acts alleged in

this Complaint.

         8.     Defendants, JOHN DOE AND JANE DOE, are fictitious names for unknown

persons who participated in the acts and omissions against the Plaintiff and/or who are successors

of Cresca, all responsible for the damages suffered by the Plaintiff.



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                                       IV.     THE FACTS

         A. General Allegations.

         9.    Plaintiff re-alleges each and every previous allegation as if fully established herein.

         10.   The Plaintiff is a natural person.

         11.   Allegedly, Plaintiff entered into a consumer credit transaction with First Bank

Puerto Rico (hereinafter referred as the “Consumer Debt”).

         12.   The Plaintiff, as a natural person and allegedly obligated to pay a debt, is a

‘Consumer’ as such term is defined by 15 U.S.C. §1692a(3).

         13.   The Consumer Debt, based on a consumer credit card, was used for Plaintiff’s

personal, household, or family purposes; meaning, that the alleged debt was incurred for the benefit

of Plaintiff as well as his family and his household.

         14.   The Consumer Debt is a “debt” as such term is defined by 15 U.S.C. §1692a(5) as

it was incurred for personal, family, or household purposes.

         15.   Sometime on/or before July 26, 2021, First Bank retained Cresco to commence

collection efforts on the Consumer Debt.

        16.    The FDCPA defines the term "debt collector" to include, amongst others: (1) "any

person who uses any instrumentality of interstate commerce or the mails in any business the

principal purpose of which is the collection of any debts," and (2) any person "who regularly

collects or attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or

due to another". See, 15 U.S.C. §1692a(6).

        17.    Cresco is a collection agency that utilizes the instrumentalities of interstate

commerce (i.e., telephone, e-mail, texts, US Mail, etc.) to conduct the business of collecting debts.




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           18.     On behalf of clients, Cresco regularly collects or attempts to collect, directly or

indirectly, debts owed or due or asserted to be owed or due another.

           19.     On July 26, 2021, Defendant sent Plaintiff a collection letter (“Demand Letter”).

See, Exhibit A.

           20.     The Demand Letter was utilized to convey information regarding the Consumer

Debt.

           21.     The Demand Letter is a “communication” as such term is defined in 15 U.S.C.

§1692a(2).

           22.     The Demand Letter was sent through means of interstate commerce; namely, via

first-class United States Mail.

                b. Allegations as to False, Deceptive and Misleading Representations.

          23.      Plaintiff re-alleges each and every previous allegation as if fully established herein.

          24.      The Demand Letter was sent to Plaintiff by Defendant on behalf of an alleged

creditor/client of Defendant. See, Exhibit A.

          25.      The Demand Letter incorporates false, deceptive and misleading representations.

          26.      For example, the Demand Letter threatens Plaintiff that inaction will result in a

legal process before the Court. In fact, Defendant had no legal and/or factual basis to make such

threat.

          27.      Similarly, the Demand Letter threatens that Plaintiff’s inaction will result in the

filling of a legal procedure for fraud. In fact, Defendant had no legal and/or factual basis to make

such threat.




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        28.     The Demand Letter was signed by Ms. Ana Ramos Toro and states that it is from

the Legal Division of the Defendant. In fact, there is no “legal division” at Defendant and

Defendant does not employee any attorneys.

        29.     The Demand Letter states that it was sent by the Legal Division, however, no

attorney at the collection agency meaningfully reviewed or authorized the letter before it was sent

to the Plaintiff.

        30.     The Demand Letter states that it was sent by the Legal Division, however, no

attorney at the collection agency meaningfully reviewed the account balance to determine how the

balance was calculated or if the balance was correct before the letter was sent to the Plaintiff.

        31.     The Demand Letter states that it was sent by the Legal Division, however, no

attorney at the collection agency reviewed the collection file or made a determination about the

legal validity of the alleged debt before the letter was sent to the Plaintiff.

        32.     Upon information and belief, before seeking to collect the Consumer Debt under

the auspices of a legal division, no attorney at the Defendant actually reviews the statement of

Plaintiff’s account in a manner which allows Defendant to make certain legal judgments, which in

the exercise of ordinary due diligence, an attorney would make in attempting to collect a debt

associated with a consumer debt and prior to making threats liking filing a legal action based on

fraud such as: (1) the date the consumer’s account was opened (i.e., to determine whether the debt

obligation was subject to legal or equitable defenses including applicable statute of limitations);

(2) the date of each charge that was applied to the consumer’s account; (3) the amount and date of

each payment applied to the consumer’s account; and (4) the method, rate, and means of computing

interest on the consumer’s account.




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       33.    Defendant’s form collection letters, in the form and content of the Demand Letter

attached as Exhibit A, left the Plaintiff – or any ‘least sophisticated consumer’ - with the

impression that the letters are communications from an attorney and/or that an attorney at

Defendant’s “Legal Division” has analyzed the matter and that Plaintiff is in imminent danger of

facing legal consequences.

       34.    In fact, Defendant never intended to take legal action for fraud against the Plaintiff.

       35.    Defendant attempted to collect the Consumer Debt using false, deceptive, and

unconscionable means.

       36.    As a result of Defendant’s false, deceptive, and unconscionable collection practices

Plaintiff was confused and had to spend time and money to visit counsel and engage counsel to

review the Demand Letter.

       37.    The time and money spent by Plaintiff addressing Defendant’s violation of the

FDCPA is precisely the statutory risk the FDCPA was intended to avoid.

                    V.       COUNT I - VIOLATION OF 15 U.S.C. § 1692e(3)

       38. Plaintiff re-alleges each and every previous allegation as if fully established herein.

       39. Plaintiff brings Count I on his own behalf and on behalf of others similarly situated.

       40. 15 U.S.C. § 1692e(3) states:

              A debt collector may not use any false, deceptive, or misleading
              representation or means in connection with the collection of any debt.
              Without limiting the general application of the foregoing, the following
              conduct is a violation of this section:
              …

              (3) The false representation or implication that any individual is an attorney or that
              any communication is from an attorney.

       41.    The reference in the Demand Letter to a Legal Division, and the multiple references

and mentions in the Demand Letter to legal proceedings and legal consequences imposed upon the


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Plaintiff the impression that the Demand Letter was a communication reviewed by an attorney

and/or that it was from an attorney.

       42.     The impression that the Demand Letter was a communication from an attorney was

a false, misleading, or deceptive representation because in fact, no attorney at Defendant’s office

had reviewed, authorized the Demand Letter nor was any attorney meaningfully involved in the

drafting or preparation of the Demand Letter.

       43.     The Demand Letter is a template which - in identical form and substance, other than

inserting pre-defined fields such as name and address - is mailed to all Consumers from whom

Defendant attempts to collect.

       44.     The FDCPA prohibits a debt collector from using false, deceptive, or misleading

representation or means to collect a debt, including the false representation or implication that any

individual is an attorney or that the communication is from an attorney. See, 15 U.S.C. § 1692(3).

       45.     Defendant’s false, misleading, and deceptive representations in the Demand Letter

violated 15 U.S.C. § 1692e(3).

       46.     Defendant’s false, misleading or deceptive representation in the Demand Letter that

it would recommend to FirstBank to file suit for fraud in a court of law confused Plaintiff into

believing that licensed attorneys had reviewed her file and that further legal action was imminent.

       47.     Defendant’s false, misleading or deceptive representation in the Demand Letter that

as a result of its efforts it could now be understood that Plaintiff had originated the Consumer Debt

without the intent of ever paying on such debt confused Plaintiff into believing that licensed

attorneys and/or investigators had reviewed her file to arrive at this legal conclusion.

       48.     Defendant’s false, misleading or deceptive representation in the Demand Letter that

the failure to pay the alleged Consumer Debt would result in the same being declared as due and



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owing by a court of law confused Plaintiff into believing that licensed attorneys had reviewed her

file to arrive at this legal conclusion.

        49.     Defendant’s false, misleading or deceptive representation in the Demand Letter that

the Plaintiff’s case could be referred to First Bank for legal action confused Plaintiff into believing

that licensed attorneys had already reviewed her file and determined that there was a legal basis

for legal action.

        50.     Defendant’s false, misleading or deceptive representation in the Demand Letter that

it has a “legal Department” and that Mrs. Ana Rivas Soto, the signor in the Demand Letter, worked

in such Department confused Plaintiff into believing that “Legal Division” and the licensed

attorneys at Defendant had reviewed her file.

        51.     As a result of Defendant’s false representations and deceptive representations,

Plaintiffs suffered tangible and intangible injuries.

        52.     Amongst Plaintiff’s tangible injuries, Plaintiff suffered economic and emotional

damages and injuries. For example, because of Defendant’s false representation, Plaintiff was

forced to engage counsel in a different and unrelated proceeding to this one, to review the Demand

Letter and provide legal advice. In addition, because Plaintiff was confused and unnerved by the

repetitive suggestions in the Demand Letter that legal action was eminent, Plaintiff also retained

bankruptcy counsel – in an unrelated proceeding – in order to stay the legal action threaten in the

Demand Letter.

        53.     The engagement of counsel, as a result of the confusion created by Defendant’s

violation of 1692e(3) imposed an economic cost and expense on Plaintiff that but for Defendant’s

false, misleading and deceptive representations Plaintiff would not have incurred.




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       54.     But for Defendant’s false and misleading collection actions, Plaintiff would not

have filed for bankruptcy in as much as the bankruptcy was filed, primarily, to stay what Plaintiff

believed was eminent legal action.

       55.     Additionally, Plaintiff suffered intangible injuries. For example, the confusion,

distress, and fear created by the false and misleading representations in the Demand Letter resulted

in severe emotional damages that but for Defendant’s false, misleading, and deceptive

representations would not have occurred.

       56.     These emotional damages and risks resulted from precisely the sort of abusive debt

collection practices which Congress sought to prevent in enacting the FDCPA.

       57.     As a result of Defendant’s conduct, Plaintiff is entitled to an award of actual

damages and statutory damages pursuant to 15 U.S.C. §1692k to remedy the economic damages

created by Defendant’s conduct.

       58.     As a result of Defendants’ conduct, Plaintiff is entitled to an award of costs and

attorney fees pursuant to 15 U.S.C. §1692k.

                     VI.     COUNT II – VIOLATION OF 15 U.S.C. §1692e

       59. Plaintiff re-alleges each and every previous allegation as if fully established herein.

       60. Plaintiff brings Count II on his own behalf and on behalf of others similarly situated

       61. 15 U.S.C. § 1692e(11) provides as follows:

       62. Section 1692e, in its pertinent part, states:

               A debt collector may not use any false, deceptive, or misleading
               representation or means in connection with the collection of any
               debt. Without limiting the general application of the foregoing,
               the following conduct is a violation of this section:
               …
               (5) The threat to take any action that cannot legally be taken
               or that is not intended to be taken;
               (6) ………………………………….…………………………..;


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               (7) ………………………………….…………………………..;
               (8) ………………………………….…………………………..;
               (9) ………………………………….…………………………..;
               (10) The use of any false representation or deceptive means to
               collect or attempt to collect any debt or to obtain information
               concerning a consumer.

               See, 15 U.S.C. § 1692e(5), (10).

         63.   The FDCPA prohibits debt collectors from using “any false, deceptive, or

misleading representation or means in connection with the collection of any debt.” See, 15 U.S.C.

§ 1692e.

         64.   “The FDCPA is ‘a strict liability statue’ and, thus, there is no need for a plaintiff to

plead or prove that a debt collector’s misrepresentation of a debt obligation was intentional.” See,

Vangorden v. Second Round, Ltd. P’ship, 897 F.3d 433, 437-38(2d Cir. 2018) (citing Arias v.

Gutman, Mintz, Baker & Sonnenfeldt LLP, 875 F.3d 128, 134 (2d Cir. 2017)). “The strict liability

standard applies to § 1692e claims.” See, Wahl v. Midland Credit Mgmt., Inc., 556 F.3d 643, 646

(7th Cir. 2009).

         65.   Therefore, a “[d]ebt collectors may not make false claims, period.” See, Randolph

v. IMBS, Inc., 368 F.3d 726, 730 (7th Cir. 2004); see also, Valle v. Westhill Exch., LLC, GJH-19-

2304 (D. Md. Mar. 24, 2021) (“[A] debt collector may violate §1692e even if it unintentionally

makes a false statement.”); Turner v. J.V.D.B. & Assocs., Inc., 330 F.3d 991, 995 (7th Cir. 2003)

("[U]nder §1692e ignorance is no excuse."); Russell v. Equifax A.R.S., 74 F.3d 30, 33 (2d Cir.

1996).

         66.   Under Section 1692e, a debt collector may not threaten “to take any action that

cannot legally be taken or that is not intended to be taken.” See, 15 U.S.C. §§ 1692e(5).

         67.   Defendant’s Demand Letter incorporates false representation and deceptive means

because it threatens, intentionally or unintentionally, that legal action could be taken and that


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Plaintiff had engaged in fraud when in fact there was no basis for such threats; accordingly, the

threatened action could not legally be taken at the time.

       68.     Because the Demand Letter is a form/template communication, mailed to Plaintiff

and all others similarly situated (coupled, the “Demand Letters”), the allegations in the Demand

Letters that each Plaintiff and all other similarly situated engaged in fraud and/or that legal action

will or can be taken was a false representation.

       69.     Defendant’s Demand Letter incorporates false representation and deceptive means

because it never intended to commence a legal proceeding for fraud against the Plaintiff to collect

the Consumer Debt.

       70.     Defendant violated Section 1692e(5) by threatening to “take any action that cannot

legally be taken or that is not intended to be taken” to collect a debt.

       71.     Section 1692e also prohibits the “use [of] any false representation or deceptive

means to collect or attempt to collect any debt or to obtain information concerning a consumer”.

See, 15 U.S.C. §§ 1692e(10).

       72.     Defendant’s Demand Letter incorporates false representation and deceptive means

by threatening the Plaintiff that it would recommend First Bank to commence a legal action for

fraud in an attempt to collect the Consumer Debt and/or obtain information about the Plaintiff.

       73.     Defendant’s false, misleading, and deceptive representations in the Demand Letter

violated 15 U.S.C. § 1692(10).

       74.     Defendant violated Section 1692e(10) by using false representations and/or

deceptive means to collect, or attempt to collect, the Consumer Debt and/or to obtain, or attempt

to obtain information regarding the Plaintiff.




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          75.    As a result of Defendant’s false and misleading representations Plaintiff believed

that he needed to pay the Consumer Debt immediately and in fact considered the payment of the

Consumer Debt immediately; else, Plaintiff believed that the consequence of a legal action for

fraud would follow.

          76.    Unable to pay, in response to the false and misleading Demand Letter, the asserted

amounts; Plaintiff was forced to file for Bankruptcy Protection in order to stay the threatened legal

action.

          77.    Having to file for bankruptcy, in response to the false legal threats, resulted in costs

and expenses that would not have existed but for Defendant’s false threats.

          78. As a result of Defendant’s conduct Plaintiff suffered tangible and intangible injuries.

          79.    Amongst Plaintiff’s tangible injuries, Plaintiff suffered economic and physical

damages and injuries. Economic damages include, but are not limited to, Plaintiffs retained

counsel, and paid for the costs and fees associated thereto, to review the Demand Letter. Physical

damages include, but are not limited to, physical tension, headaches, and upset stomach, all directly

and proximately caused by Defendant’s actions.

          80.    Amongst Plaintiff’s intangible injuries, Plaintiff suffered emotional damages and

injuries. Emotional damages include, but are not limited to, extreme anxiety, severe emotional

distress, and the mental anguish which has resulted from Defendant’s deliberate disruption of

Plaintiff’s financial rehabilitation efforts.

          81.    As a result of Defendant’s conduct, Plaintiff is entitled to an award of actual

damages and statutory damages pursuant to 15 U.S.C. §1692k to remedy the economic damages

created by Defendant’s conduct.




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       82.      As a result of Defendant’s conduct, Plaintiff is entitled to an award of costs and

attorney fees pursuant to 15 U.S.C. §1692k.

                     VII.    COUNT III – VIOLATION OF 15 U.S.C. §1692e

       83.      Plaintiff re-alleges each previous allegation as if fully established herein.

        84.     Plaintiff brings Count III on her own behalf and on behalf of others similarly

situated.

        85.     15 U.S.C. § 1692e(11) provides as follows:

                A debt collector may not use any false, deceptive, or misleading
                representation or means in connection with the collection of any
                debt. Without limiting the general application of the foregoing,
                the following conduct is a violation of this section:
                …
                (11)     The failure to disclose in the initial written communication with
                         the consumer and, in addition, if the initial communication with
                         the consumer is oral, in that initial oral communication, that
                         the debt collector is attempting to collect a debt and that any information
                         obtained will be used for that purpose, and the failure to disclose in
                         subsequent communications that            the communication is        from
                         a debt collector, except that this paragraph shall not apply to a formal
                         pleading made in connection with a legal action.

See, 15 U.S.C. § 1692e(11).

        86.     Section 1692e(11) incorporate two separate and distinct mandates upon debt

collectors. First, in the “initial communication” the debt collector must disclose that: (a) the

communicating party is a “debt collector,” and (b) the communicating party “is attempting to

collect a debt and that any information will be used for that purpose.” See, 15 U.S.C. § 1692e(11),

supra. Second, in any “subsequent communications” the debt collector must disclose that the

“communication is from a debt collector.” Id.

        87.     The FDCPA mandates strict compliance with its disclosure requirements of

1692e(11). See, Masciarelli v. Boudreau & Associates, 529 F.Supp.2d 183 (D. Mass. 2007) ("a



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collection agent must follow the disclosure requirement of identifying himself as a debt collector

in all communication...").

         88.   The Demand Letter was a communication from Defendant that conveyed

information regarding the Consumer Debt.

         89.   The Demand Letter was a “communication” as such term is defined in the FDCPA.

         90.   The Demand Letter was not the “initial communication” from Defendant. See,

Complaint. ¶22-25, herein.

         91.   The Demand Letter was a “subsequent communication” as per Section 1692e(11)

of the FDCPA.

         92.   Pursuant to the mandates of 1692e(11) of the FDCPA, Defendant was obligated to

disclose to Plaintiff that it was a “debt collector” in the Demand Letter and/or any other

“subsequent communication.”

         93.   The Demand Letter, a “subsequent communication” fails to disclose – as required

by the FDCPA – that Defendant is a “debt collector” or that the Demand Letter was sent by a

“debt collector.” Id.

         94.   Defendant’s failure to disclose its identity as a “debt collector” – as required by the

FDCPA – is a false, deceptive, or misleading representation in connection with the collection of a

debt.

         95.   Defendant’s failure to disclose that Defendant is a “debt collector,” when

considered in the context of the Demand Letter - embedded in a letter with multiple references in

to state court proceedings, filled with legal jargon, and signed by the “Legal Department” –

resulted in Plaintiff’s confusion as to whom was communicating with Plaintiff.




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         96.   Failure to disclose in a subsequent communication that the communicating party is

a “debt collector” impaired the decision making process of Plaintiff and impairs the decision

making process of the least sophisticated consumer.

         97.   The Demand Letter, because it failed to disclose to Plaintiff that Defendant was a

“debt collector” was a false, deceptive, and misleading representation in violation of the FDCPA.

        98.    As a result of Defendants’ false representations and deceptive representations,

Plaintiffs was in fact mislead and suffered tangible and intangible injuries.

       99.     Amongst Plaintiff’s tangible injuries, Plaintiff suffered economic and emotional

damages and injuries. For example, because of Defendant failed to accurately disclose that it was

a “debt collector,” Plaintiff was forced to incur in the cost and expense of engaging counsel, in a

different and unrelated proceeding to this one, to review the Demand Letter and provide legal

advice as to who was communicating with him and the legal status of the debt (i.e. debt collection,

legal proceeding, etc.).    Moreover, Plaintiff was disturbed and confused by the lack of

information as to the capacity of the party communicating with him, their ensuing intentions as

well as the legal consequences to Plaintiff.          This confusion and disturbance created by

Defendant’s failure to disclose their capacity as a debt collector, as required by the FDCPA,

caused Plaintiff severe emotional distress.

       100.    Plaintiff also suffered intangible injuries. For example, the confusion, distress,

and fear caused by Defendant’s false, misleading, and deceptive representations are precisely the

sort of abusive debt collection practices which Congress sought to protect in enacting the FDCPA.

Because Congress sought to avoid collection practices which disrupt a debtor’s life, Congress

mandated that communicating parties disclose their capacity as ‘debt collectors.’

       101.    Defendant’s failure resulted in precisely the harm Congress sought to avoid.



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        102.   Because of Defendant’s false, misleading or deceptive representations Plaintiff

was induced to the believe that the Consumer Debt had been advanced to a licensed attorney for

legal proceedings, as opposed to debt collection by a debt collector.

        103.   As a result of the fear created by Defendants false, misleading, or deceptive

representations and because the Demand Letter did not specify if it came from a “debt collector,”

Plaintiff was forced to engage counsel to review the Demand Letter to determine if the

communication was from a debt collector or other party.

        104.   These false, misleading or deceptive representations by Defendant imposed

economic costs and expenses on Plaintiff that would not, but for Defendants actions, have been

incurred by Plaintiffs.

        105.   As a result of Defendants’ conduct, Plaintiffs are entitled to an award of statutory

damages pursuant to 15 U.S.C. §1692k to remedy the economic damages caused by Defendant’s

conduct.

        106.   As a result of Defendants’ conduct, Plaintiffs are entitled to an award of costs and

attorney fees pursuant to 15 U.S.C. §1692k.

                                    VIII. CLASS ALLEGATIONS

        107.   Plaintiff re-alleges each and every previous allegation as if fully established herein.

        108.   Plaintiff brings Count I, Count II and Count III on behalf of a class, pursuant to

Fed. R. Civ. P. 23(a) and (b)(3).

        109.   The Class consists of: (a) all natural persons with a Puerto Rico address; (b) who

were sent a letter in the forms represented by Exhibit A; (c) on or after a date one year prior to the

filing of this action; and (d) on or before a date 20 days after the filing of this Complaint.

        110.   The class members are so numerous that joinder is impracticable.



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       111.    On information and belief, based on the use of a form letter such as the one attached

hereto as Exhibit A, there are more than 1,000 natural persons with a Puerto Rico address in the

class defined herein.

       112.    There are questions of law and fact common to all class members, which

predominate over any question that affect only individual class members.

       113.    The predominant questions are:

               (a) Whether Exhibit A is a form letter.

               (b) Whether Exhibit A violates the FDCPA; and

               (c) The liability of Cresca for the action of sending Exhibit A.

       114.    Plaintiff’s claim is typical of the claims of the class members. All are based on the

same factual and legal theories.

       115.    Plaintiff will fairly and adequate represent the interest of the class members.

Plaintiff has retained counsel experienced in consumer credit and debt collection abuse cases.

       116.    A class action is superior to other alternative methods of adjudicating this dispute,

           in that:

           a. Individual cases are not economically feasible,

           b. Many consumers may not realize their rights are violated, and

           c. Congress prescribed class actions as a principal enforcement mechanism under the

               FDCPA.

       WHEREFORE, in view of the foregoing, Plaintiff respectfully requests from this

Honorable Court to enter a judgment in favor of the Plaintiff and the class members, granting

Plaintiff and the class members the remedies requested in this Complaint and such other remedies

as may be fair and equitable.



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RESPECTFULLY SUBMITTED.

In San Juan, Puerto Rico this 26th day of April 2022.

                                              THE BATISTA LAW GROUP, PSC.
                                              P.O. Box 191059
                                              San Juan, PR. 00919
                                              Telephone: (787) 620-2856
                                              Facsimile: (787) 777-1589

                                              /s/ Jesus E. Batista Sánchez
                                              Jesus E. Batista Sánchez, Esq.
                                              USDC-PR No. 227014
                                              E-mail: jeb@batistasanchez.com

                                              /s/ William Rivera Vélez
                                              William Rivera Vélez, Esq.
                                              USDC-PR No. 229408
                                              E-mail: wrv@batistasanchez.com




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